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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                     Criminal No. 13-40(1)(2)&(3) (DWF/JJG)

                    Plaintiff,

v.                                                     ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
Michael Scott Luedtke (1), Edward
McCabe Robinson (2), and Irah Lee
Goodwin (3),

                    Defendants.


      This matter is before the Court upon Defendants Michael Scott Luedtke,

Edward McCabe Robinson, and Irah Lee Goodwin’s (collectively “Defendants”)

objections (Doc. No. 96), to Magistrate Judge Jeanne J. Graham’s June 5, 2013 Report and

Recommendation (Doc. No. 91), insofar as it recommends that: (1) Defendant Michael

Scott Luedtke’s Motion to Dismiss for Lack of Jurisdiction be denied; (2) Defendant

Edward McCabe Robinson’s Motion to Dismiss for Lack of Jurisdiction be denied; and

(3) Defendant Irah Lee Goodwin’s Motion to Dismiss be denied. Defendant Edward

McCabe Robinson filed separate Objections to Report and Recommendation Re: Motion

to Dismiss. (Doc. No. 95.) The Government filed a Response to Defense Objections on

July 3, 2013. (Doc. No. 102.)

      The Court has conducted a de novo review of the record, including a review of the

arguments and submissions of counsel, pursuant to 28 U.S.C. § 636(b)(1) and Local

Rule 72.2(b). The factual background for the above-entitled matter is clearly and
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precisely set forth in the Report and Recommendation and is incorporated by reference for

purposes of Defendants’ objections.

       Defendants object to the Report and Recommendation, arguing that the relevant

statutory scheme forecloses federal jurisdiction in this case. In particular, Defendants

submit that the word “assisting” as used in 18 U.S.C. §1114 does not apply to correctional

officers performing services pursuant to a contract with the United States Marshals Service

to provide for the custody, care, and safekeeping of federal detainees. The government

maintains that the Court should adopt the findings and legal conclusions of the Report and

Recommendation. Having carefully reviewed the record, the Court concludes that

Defendants’ objections offer no basis for departure from the Report and Recommendation

and that Magistrate Judge Graham correctly recommended that Defendants’ motions to

dismiss by denied.

       Based upon the de novo review of the record and all of the arguments and

submissions of the parties, and the Court being otherwise duly advised in the premises, the

Court hereby enters the following:

                                         ORDER

       1.     Defendants Michael Scott Luedtke, Edward McCabe Robinson, and Irah Lee

Goodwin’s objections (Doc. No. [96]) to Magistrate Judge Jeanne J. Graham’s June 5,

2013 Report and Recommendation are OVERRULED.




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      2.     Defendant Edward McCabe Robinson’s objections (Doc. No. [95]) to

Magistrate Judge Jeanne J. Graham’s June 5, 2013 Report and Recommendation are

OVERRULED.

      3.     Magistrate Judge Jeanne J. Graham’s June 5, 2013 Report and

Recommendation (Doc. Nos. [91], [92], and [93]) is ADOPTED.

      4.     Defendant Edward McCabe Robinson’s Motion to Suppress February 8,

2013 Statements, Admissions, and Answers (Doc. No. [47]) is DENIED.

      5.     Defendant Michael Scott Luedtke’s Motion to Suppress Statements,

Admissions, and Answers (Doc. No. [55]) is DENIED AS MOOT.

      6.     Defendant Michael Scott Luedtke’s Motion to Suppress Evidence Obtained

as a Result of Search and Seizure (Doc. No. [56]) is DENIED AS MOOT.

      7.     Defendant Michael Scott Luedtke’s Motion to Dismiss for Lack of

Jurisdiction (Doc. No. [57]) is DENIED.

      8.     Defendant Irah Lee Goodwin’s Motion to Suppress Statements (Doc.

No. [60]) is DENIED.

      9.     Defendant Irah Lee Goodwin’s Motion to Suppress Physical Evidence (Doc.

No. [61]) is DENIED AS MOOT.

      10.    Defendant Irah Lee Goodwin’s Motion to Sever Defendant (Doc. No. [70])

is DENIED.




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      11.    Defendant Edward McCabe Robinson’s Motion to Dismiss for Lack of

Jurisdiction (Doc. No. [82]) is DENIED.

      12.    Defendant Irah Lee Goodwin’s Motion to Dismiss (Doc. No. [83]) is

DENIED.

Dated: July 30, 2013            s/Donovan W. Frank
                                DONOVAN W. FRANK
                                United States District Judge




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